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UNITED STATES DISTRICT COURT                   SOUTHERN DISTRICT OF TEXAS
                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
Althea Shackelford,                        §                                 October 27, 2022
                                           §                                Nathan Ochsner, Clerk
versus                                     §             Civil Action 4:22−cv−03496
                                           §
Specialized Loan Servicing, LLC , et al.   §

                            Order Setting Conference
1.   A pre−trial conference will be held on:

                                  December 1, 2022
                                   at 10:30 AM in
                             Judge Hughes's Courtroom
                              United States Court House
                          515 Rusk Avenue, Courtroom 11C
                               Houston, Texas 77002.

2.   To ensure full notice, whoever receives this notice must confirm that every other
     party knows of the setting.

3.   Each party must appear by an attorney with (a) full knowledge of the facts and
     (b) authority to bind the client.

4.   The court will decide motions, narrow issues, inquire about and resolve expected
     motions, and schedule discovery. Counsel are to consult among themselves about
     these matters well in advance.

5.   Principal documents must have been exchanged well before the conference.

     Signed on October 27, 2022, at Houston, Texas.
